
USCA1 Opinion

	










          September 26, 1995
                                [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCIUT




                                 ____________________

        No. 94-2276

                            JUAN RAMON MATTA-BALLESTEROS,

                                Plaintiff, Appellant,

                                          v.

                          UNITED STATES OF AMERICA, ET AL.,

                                Defendants, Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO


                  [Hon. Juan M. Perez-Gimenez, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                           Selya and Lynch, Circuit Judges.
                                            ______________

                                 ____________________

            Juan Ramon Matta-Ballesteros on brief pro se.
            ____________________________
            Guillermo Gil, United States Attorney,  and Fidel A. Sevillano Del
            _____________                               ______________________
        Rio, Assistant United States Attorney, on brief for appellees.
        ___


                                 ____________________

                                 ____________________





















                      Per Curiam.   Plaintiff-appellant Juan Ramon  Matta
                      __________

            Ballesteros  ("Matta"),  appeals  pro  se  from the  district
                                              ___  __

            court's dismissal  of his action  "with prejudice"  following

            his Notice of Voluntary Dismissal pursuant to Fed. R. Civ. P.

            41(a)(1)(i).     We  vacate  the  district  court's  judgment

            dismissing   the  case   with  prejudice   and  remand   with

            instructions to dismiss the case without prejudice.

                 I. Timeliness of Appeal
                    ____________________

                 Defendants-appellees, the  United States of  America, et

            al.,  argue  that Matta's  appeal is  untimely and  should be

            dismissed for lack of jurisdiction.  We disagree.  In a civil

            case such as this in which the United States or an officer or

            agency thereof is a party,  a notice of appeal must  be filed

            within sixty days after entry  of the judgment appealed from.

            See Fed. R.  App. P. 4(a)(1).   A timely  motion pursuant  to
            ___

            Fed. R. Civ. P. 59(e) tolls the running of the appeal period.

            See Fed. R. App. P. 4(a)(4).  "The timeliness of a Rule 59(e)
            ___

            motion is determined by the date of service, not the date  of

            filing." Air Line Pilots  Ass'n v. Precision Valley Aviation,
                     ______________________    __________________________

            Inc., 26 F.3d 220, 223 n.3 (1st Cir. 1994).
            ____

                 The district court judgment dismissing Matta's case with

            prejudice was entered on September 8, 1994.  Matta served his

            motion  to reconsider by mail on September 13, 1994. See Fed.
                                                                 ___

            R. Civ. P. 5(b)  (service by mail is complete  upon mailing).

            Therefore,  service of the motion  occurred within 10 days of



















            the entry of the district court's judgment and the motion was

            timely. See Fed. R. Civ. P. 59(e).  Given  the timely  filing
                    ___

            of Matta's motion to  reconsider, the sixty-day appeal period

            began  to run  on November 21,  1994, the  date on  which the

            district court's  denial of  the motion  was entered.   Matta

            filed his notice  of appeal on  December 5,  1994, and it  is

            therefore timely with  respect to both  the dismissal of  his

            case and the denial of his motion to reconsider. Accordingly,

            this court has jurisdiction to consider Matta's appeal.

                 II. Dismissal with Prejudice
                     ________________________

                 Matta argues that the  district court violated the clear

            meaning  of Fed.  R. Civ.  P. 41(a)(1)(i)  in dismissing  his

            complaint  "with prejudice"  instead  of  without  prejudice.

            Rule 41(a)(1)(i) provides, in relevant part, as follows:

                 an action may be dismissed by the plaintiff without
                 order  of court (i) by filing a notice of dismissal
                 at any time  before service by the adverse party of
                 ___________________________________________________
                 an  answer or of a motion for summary judgment, . .
                 ______________________________________________
                 .  .  Unless  otherwise  stated in  the  notice  of
                 dismissal  or stipulation, the dismissal is without
                                                             _______
                 prejudice, . . . .
                 _________

            (emphasis added).  

                 Matta  filed a Notice  of Dismissal pursuant  to Fed. R.

            Civ.  P. 41(a)(1)(i)  on  August 30,  1994.   At  that  time,

            defendants had filed a motion to dismiss (on August 4, 1994).

            Defendants had  not filed, however,  either an answer  to the

            complaint or a motion for summary judgment.   Therefore, "the

            plaintiff had the  right voluntarily to  dismiss the case  at



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            any  time before an answer  or a motion  for summary judgment

            was served.  The plaintiff  properly invoked that  right, and

            the district court had no  power to condition its dismissal."

            Universidad  Central del  Caribe,  Inc. v.  Liaison Comm.  on
            _______________________________________     _________________

            Medical  Educ., 760  F.2d 14,  19 (1st  Cir. 1985).  See also
            ______________                                       ___ ____

            Manze v. State Farm Ins. Co., 817 F.2d 1062, 1065-67 (3d Cir.
            _____    ___________________

            1987)  (reversing dismissal  of  claim  with prejudice  where

            defendant had filed a motion to dismiss  prior to plaintiff's

            notice of  voluntary dismissal, but had  neither answered the

            complaint nor moved for summary judgment).

                 The judgment  of the district court  dismissing the case

            with  prejudice is  vacated  and the  case  is remanded  with
                                _______                    ________

            instructions to dismiss the case without prejudice.  Costs to

            appellant.










                   














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